Case 18-41597-drd7          Doc 4   Filed 06/13/18 Entered 06/13/18 14:15:22             Desc Main
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MOW 1007-1.1 (05/07)

                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI


IN RE:     NORTHROCK, LLC                          )
                                                   )
                                                   )
                Debtor(s)                          ) Case No.
                                                   )
                                                   )

                            CORPORATE OWNERSHIP STATEMENT


         In a case in which the debtor is a corporation, the following information is required pursuant

to Fed. R. Bankr. P. 1007(a)(1) and 7007.1 and Local Rule 1007-1 A. (11):


X        There are no corporations that directly or indirectly own 10% of more of any class of the
         debtor’s equity interest.

□        The following corporations directly or indirectly own 10% or more of a class of the debtor’s
         equity interest:




                                                      Respectfully submitted,

                                                      By: /s/ Ryan D. Kiliany

                                                      Ryan D. Kiliany #59070
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                                                      ATTORNEY FOR DEBTOR


cc: U.S. Trustee




Instructions: File as a separate document on the day the voluntary petition is filed.
ECF Event: Bankruptcy>Other>Declaration: (insert “Corporate Ownership Statement” in free text
box)
